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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

 UNITED STATES OF AMERICA                   :
                                            :         Crim. No. 23-541
       v.                                   :
                                            :         Hon. Georgette Castner
 CAZ CRAFFY                                 :
   a/k/a “CARZ CRAFFEY”                     :
                                            :
                                            :

                             ORDER FOR CONTINUANCE

      This matter having come before the Court on the joint application of the United

States, by Phillip R. Sellinger, United States Attorney for the District of New Jersey

(Martha K. Nye and Carolyn Silane, Assistant U.S. Attorneys, appearing), and

defendant Caz Craffy (Mark Berman, Esq., appearing), for an order granting a

continuance of proceedings in the above-captioned matter; and the defendant being

aware that he has the right to have this matter brought to trial within seventy (70)

days of the date of his appearance before a judicial officer of this court pursuant to 18

U.S.C. § 3161(c)(1); and there having been one prior continuance entered in this case;

and the defendant having consented to such continuance and having waived such

right; and for good cause shown,

      IT IS THE FINDING OF THIS COURT that this action should be continued

for the following reasons:

      1.     The failure to grant a continuance would deny counsel for the defendant

and counsel for the Government the reasonable time necessary for effective

preparation for trial, taking into account the exercise of due diligence.


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      2.     As a result of the foregoing, pursuant to 18 U.S.C. § 3161(h)(7)(A) and

(h)(7)(B)(iv), the ends of justice served by the granting of this continuance outweigh

the best interests of the public and the defendant in a speedy trial.

                                   20th
      IT IS, therefore, on this __________day of October, 2023,

      ORDERED that this action be, and hereby is, continued until January 19,

2024, allowing the parties additional time to engage plea negotiations and/or

preparations for trial; and it is further

      ORDERED that the period from the date of this order through January 19,

2024, be and hereby is excluded in computing time under the Speedy Trial Act of

1974, 18 U.S.C. § 3161 et seq.



                                        /s/ Georgette Castner
                                  ___________________________________________
                                  HONORABLE GEORGETTE CASTNER
                                  UNITED STATES DISTRICT JUDGE


Trenton, New Jersey

Form and entry
consented to:


/s/ Martha Nye
MARTHA K. NYE
CAROLYN SILANE
Assistant U.S. Attorneys


s/ Mark Berman
Mark Berman, Esq.
Counsel for defendant Caz Craffy



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